
84 So. 3d 454 (2012)
Jackie Junior LIGE, II, Appellant,
v.
STATE of Florida, Appellee.
No. 1D11-2547.
District Court of Appeal of Florida, First District.
April 9, 2012.
Nancy A. Daniels, Public Defender, and Barbara J. Busharis, Assistant Public Defender, Tallahassee, for Appellant.
Pamela Jo Bondi, Attorney General, and Donna A. Gerace and Angela R. Hensel, Assistant Attorneys General, Tallahassee, for Appellee.

ON MOTION FOR REHEARING
PER CURIAM.
We grant appellant's motion for rehearing, withdraw our previous per curiam affirmance, and substitute the following opinion in its place.
AFFIRMED. See Flagg v. State, 74 So. 3d 138 (Fla. 1st DCA 2011).
VAN NORTWICK, LEWIS, and SWANSON, JJ., concur.
